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                                     UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA

                                                 2500 Tulare Street
                                                    Room 1501
                                                 Fresno, CA 93721



  LAWRENCE J. O'NEILL                                                                        Tel: 559−499−5680
Chief United States District Judge                                                           Fax: 559−499−5959
                                                                                         Calendaring: 559−499−5682

                                              A Case for Consent


  Delay, congestion, uncertainty, and expense are concerns often expressed by civil litigants. These concerns
  have reached crisis level in the Eastern District of California.

  Despite the population of our District nearly doubling since 1979 and a tremendous increase in case filings,
  for the past 40 years our entire Court has only 6 authorized District Judges. The U.S. Judicial Conference,
  the policy−making arm of the federal courts, has recommended for decades that Congress authorize
  between 5 and 11 new judgeships for this Court. Nevertheless, Congress has not done so, and political
  quagmire leaves little hope of new judgeships in the foreseeable future.

  Instead, by the end of 2019, the Sacramento Division will lose Senior District Judge Garland E. Burrell to
  retirement and District Judge Morrison C. England will take senior status and reduce his caseload by half.
  Also, Chief District Judge Lawrence J. O'Neill will retire in January 2020, leaving the Fresno Division with
  only one active Article III judge and one senior Article III judge. The Court has been significantly
  congested in the past, but absent litigants consenting to magistrate judge jurisdiction, they will be forced to
  vie for less and less district judge time and attention for years to come.

  The magistrate judge consent process brings about the "just, speedy, and inexpensive determination" of
  federal cases. Fed. R. Civ. P. 1. Magistrate judges have had a role in the federal courts since the Judiciary
  Act of 1789. Over time, Congress has expanded and enhanced the position in the quest for judicial
  efficiency.

  Magistrate judges are authorized "to conduct any or all proceedings in a jury or non−jury civil matter and
  order the entry of judgment in the case" with the consent of the parties. 28 U.S.C. §636(c). Consent
  maximizes access to the courts and eases court congestion through effective use of judicial resources. It
  provides numerous benefits to litigants including offering the prospect of an early and firm trial date, which
  district judges cannot guarantee because they must give priority to criminal cases.

  Furthermore, in all civil cases, the magistrate judge is responsible already for handling all non−dispositive
  motions and pre−trial proceedings and, as a result, is intimately familiar with the case history. Because
  consent allows the magistrate judge to also decide dispositive motions and handle the pretrial conference
  and trial, it avoids the legal limbo parties face as the district judge must take the time to become familiar
  with the case, the filings and the case history before being prepared to evaluate pending motions or to
  preside over trial. Just as with a judgment issued by a district judge, a judgment issued by a magistrate
  judge may be appealed directly to the United States Court of Appeals.

  Magistrate judges are well−qualified to preside over the cases assigned them. Federal courts attract
  experienced, high−caliber attorneys and state court and administrative law judges, with diverse experiences
  in civil and criminal litigation to apply for magistrate judge positions. These applicants are evaluated based
  upon their education, experience, knowledge of the court system, personal attributes and other criteria.
  Unlike district judges, magistrate judges are selected on merit alone; political party affiliation plays no part
  in the selection process. This makes them as qualified as their district judge colleagues to preside over
  federal cases.
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To consent to magistrate judge jurisdiction, the party simply signs and files a consent form. The form is
available on the Court's website: http://www.caed.uscourts.gov/caednew/index.cfm/forms/civil/. Our
district judges actively encourage consent to magistrate judge jurisdiction to allow parties to receive timely
resolution of their disputes. However, parties may consent or withhold consent without any adverse
consequences.

Litigants deserve justice delivered in a fair, prompt, and efficient manner. In the federal district court
system in general and in this District in particular, magistrate judges play a critical role in providing this
justice. Consenting to magistrate judge jurisdiction in civil cases represents one of the best ways to secure
"just, speedy, and inexpensive determination" for your case.
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                      NOTICE OF AVAILABILITY OF A MAGISTRATE JUDGE

                    TO EXERCISE JURISDICTION AND APPEAL INSTRUCTIONS


   You are hereby notified in accordance with 28 U.S.C §636(c), F.R.Civ.P.73 and Local Rule 305,

the United States Magistrate Judges sitting in Sacramento and Fresno are available to exercise the

court's case−dispositive jurisdiction and to conduct any or all case−dispositive proceedings in this

action, including motions to dismiss, motions for summary judgment, a jury or non jury trial, and entry

of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is however, permitted only if

all parties voluntarily consent. You may, without adverse substantive consequences, withhold your

consent, but this will prevent the court's case−dispositive jurisdiction from being exercised by a

Magistrate Judge.

   Any appeal from a judgment entered by a Magistrate Judge is taken directly to the United States

Court of Appeals for the Ninth Circuit or, where appropriate, for the Federal Circuit in the same

manner as an appeal from any other judgment of a District Court.

   Whether or not the parties consent pursuant to 28 U.S.C. § 636(c), the assigned Magistrate Judge

will hear all motions except those case−dispositive motions set forth in 28 U.S.C. § 636(b)(1)(A).

    A copy of the Form for "Consent to / Decline of Jurisdiction of United States Magistrate Judge"

is attached hereto for pro per use and attorney information. This form is available in fillable .pdf format

on the court's web site at www.caed.uscourts.gov for all attorney ECF filers. This form may be filed

through CM/ECF or by pro se litigants at the appropriate Clerk's Office location.




          Office of the Clerk                                Office of the Clerk
          501 I Street, Room 4−200                           2500 Tulare Street, Suite 1501
          Sacramento, CA 95814                               Fresno, CA 93721
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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA




MICHAEL TRUGILLO ,                                                    CASE NO: 2:20−CV−00275−TLN−AC
             Plaintiff(s) / Petitioner(s),

              vs.                                                        CONSENT / DECLINE OF U.S.
                                                                      MAGISTRATE JUDGE JURISDICTION
JOLLY FARMS, INC. ,
              Defendant(s) / Respondent(s).




                                              IMPORTANT
     IF YOU CHOOSE TO CONSENT OR DECLINE TO CONSENT TO JURISDICTION OF
     A UNITED STATES MAGISTRATE JUDGE, CHECK AND SIGN THE APPROPRIATE
           SECTION OF THIS FORM AND RETURN IT TO THE CLERK'S OFFICE.




          CONSENT TO JURISDICTION OF UNITED STATES MAGISTRATE JUDGE

          In accordance with the provisions of Title 28, U.S.C Sec. 636(c)(1), the undersigned
         hereby voluntarily consents to have a United States Magistrate Judge conduct all further
        proceedings in this case, including trial and entry of final judgment, with direct review by
                   the Ninth Circuit Court of Appeals, in the event an appeal is filed.


     Date: ___________________            Signature: _______________________________

                                          Print Name: ______________________________
                                                       ( ) Plaintiff / Petitioner    ( ) Defendant / Respondent
                                          Counsel for___________________________________*




           DECLINE OF JURISDICTION OF UNITED STATES MAGISTRATE JUDGE

             Pursuant to Title 28, U.S.C. Sec 636(c)(2), the undersigned acknowledges the
             availability of a United States Magistrate Judge but hereby declines to consent.


     Date: ___________________            Signature: _______________________________

                                          Print Name: ______________________________
                                                        ( ) Plaintiff / Petitioner    ( ) Defendant / Respondent
                                          Counsel for___________________________________*

*If representing more than one party, counsel must indicate the name of each party responding.
